              Case 3:24-cv-03811-JSC Document 176 Filed 07/25/24 Page 1 of 2




 1                                 UNITED STATES DISTRICT COURT

 2                              NORTHERN DISTRICT OF CALIFORNIA

 3                                     SAN FRANCISCO DIVISION

 4

 5   CONCORD MUSIC GROUP, INC., ET AL.                    Case Number: 3:24-cv-03811-JSC

 6          Plaintiffs,                                   [PROPOSED] ORDER TO SUBMIT
 7          v.                                            UPDATED BRIEFING REGARDING
                                                          PLAINTIFFS’ PRELIMINARY
 8   ANTHROPIC PBC,                                       INJUNCTION MOTION AND SET
                                                          STIPULATED BRIEFING SCHEDULE
 9          Defendant.

10                                                        Hon. Jacqueline Scott Corley
11          PURSUANT TO STIPULATION, IT IS HEREBY ORDERED:
12          1.        The Parties may file briefing for the Plaintiffs’ Renewed Motion for Preliminary
13   Injunction (“Renewed PI Motion”) with the following expanded page limits, consistent with the
14   page limits applicable to the Parties’ prior briefing:
15                x   Plaintiffs’ Updated Memorandum in Support of Renewed PI Motion: 30 pages
16                x   Defendant’s Updated Opposition to Renewed PI Motion: 30 pages
17          2.        The Parties will submit briefing for Plaintiffs’ Renewed PI Motion and Defendant’s
18   Motion to Dismiss for Failure to State a Claim (“Motion to Dismiss”) in accordance with the
19   following stipulated briefing schedule:
20                                      Plaintiffs’ Renewed PI Motion
21                     Plaintiffs’ Renewed PI Motion                              Aug. 1, 2024
22           Defendant’s Opposition to Renewed PI Motion                          Aug. 22, 2024
23         Plaintiffs’ Reply in Support of Renewed PI Motion                      Sept. 12, 2024
24

25                                     Defendant’s Motion to Dismiss
26                    Defendant’s Motion to Dismiss                               Aug. 15, 2024
27               Plaintiffs’ Opposition to Motion to Dismiss                      Sept. 5, 2024
28        Defendant’s Reply in Support of Motion to Dismiss                       Sept. 17, 2024
                                                                                  Case No. 3:24-cv-03811-JSC
                              [PROPOSED] ORDER TO ENLARGE PAGE LIMITS AND SET STIPULATED BRIEFING SCHEDULE
             Case 3:24-cv-03811-JSC Document 176 Filed 07/25/24 Page 2 of 2


     The hearing on the motions is set for October 3, 2024 at 10:00 a.m. in San Francisco.

 1   Dated: July 25, 2024                                                    S DISTRICT
                                                                           TE
                                                     HON. JACQUELINE
                                                               TA    SCOTTCCORLEY
 2




                                                                                                            O
                                                                  S




                                                                                                             U
                                                     UNITED STATES DISTRICT  JUDGE




                                                                 ED




                                                                                                              RT
                                                                        ERED




                                                             UNIT
                                                                              O ORD D
 3                                                                    IT IS S         E
                                                                                 DIFIIE
                                                                         AS MO




                                                                                                                   R NIA
                                                                                                            ley




                                                             NO
                                                                                                  ott Cor
 4                                                                                        ne Sc
                                                                                    uelliin  S




                                                                                                                  FO
                                                                          g Ja    qu
                                                                                 cq
                                                                        udge
                                                                       Ju




                                                              RT




                                                                                                              LI
                                                                      ER




                                                                  H




                                                                                                             A
 5                                                                         N
                                                                               D IS T IC T O
                                                                                                       F
                                                                                                             C
                                                                                     R

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                    2                          Case No. 3:24-cv-03811-JSC
                           [PROPOSED] ORDER TO ENLARGE PAGE LIMITS AND SET STIPULATED BRIEFING SCHEDULE
